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                      United States District Court
                       District of Massachusetts


                                         )
Chr. Hansen HMO GmbH,                    )
                                         )
   Plaintiff and Counterclaim-Defendant, )
                                         )
        v.                               )             Civil Action No.
                                         )             22-11090-NMG
Glycosyn LLC,                            )
                                         )
   Defendant and Counterclaim-Plaintiff, )
                                         )
        v.                               )
                                         )
Abbott Laboratories,                     )
                                         )
   Third-Party Defendant.                )
                                         )



                            MEMORANDUM & ORDER

GORTON, J.

      This case arises out of patent infringement claims brought

by Glycosyn LLC (“Glycosyn”) against Chr. Hansen HMO GmbH (“Chr.

Hansen”) relating to Chr. Hansen’s method of manufacturing a

human milk sugar known as 2’-fucosyllactose (“2’-FL”), which was

an ingredient in certain infant formulas sold by Abbott

Laboratories (“Abbott”).1       Chr. Hansen seeks a declaratory

judgment that its manufacturing method does not infringe the




1 The original manufacturer, Jennewein Biotechnologie GmbH, was acquired by
Chr. Hansen HMO GmbH in 2021, and is therefore included in all further
references to “Chr. Hansen”.

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claims in Glycosyn’s U.S. Patent No. 9,970,018 (“the ’018

patent”) and that furthermore those claims are invalid.

     This memorandum and order addresses only issues of claim

construction and follows submission by the parties of claim

construction briefs, responsive pleadings and the Markman

hearing held on January 10, 2024.      The parties dispute two terms

in the ’018 patent.

I.   Background

     A. History of the Parties

     Glycosyn and Chr. Hansen have been embroiled in litigation

for nearly six years.    In March, 2018, Glycosyn filed suit

against Chr. Hansen in the District of Massachusetts for patent

infringement but that suit was stayed pending resolution of a

parallel action brought by Glycosyn one month later at the

International Trade Commission (“ITC”). Glycosyn LLC v.

Jennewein Biotechnologie GmbH, No. 18-cv-10423-PBS, Docket No.

1, 13 (D. Mass. Mar. 5, 2018).

     In December, 2018, an administrative law judge (“ALJ”)

issued a claim construction order in the ITC action. In the

Matter of Certain Hum. Milk Oligosaccharides & Methods of

Producing the Same, 2018 WL 6837945, at *22-23 (U.S.I.T.C. Dec.

18, 2018) (hereinafter “ITC Construction Order”).        The ALJ

construed “functional β-galactosidase gene” to mean “a

functional sequence of DNA that encodes β-galactosidase,” id. at


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*22–23, and “β-galactosidase activity comprises between 0.05 and

[200 units / 5 units / 4 units / 3 units / 2 units]” as “β-

galactosidase activity is measurable at between exactly 0.05 and

exactly [200/5/4/3/2) Miller Units, as defined in Miller, J.H.,

Experiments in Molecular Genetics (Cold Spring Harbor Lab. 1912)

at 352-355,” id. at *18.    A different ALJ of the ITC applied

that construction order and determined that Chr. Hansen

infringed certain claims of the Glycosyn patent under the

doctrine of equivalents. 2019 WL 5677974 (U.S.I.T.C. Sept. 9,

2019) (hereinafter “ITC Initial Determination”).

    In May, 2020, the ITC issued a Limited Exclusion Order

against Chr. Hansen after reviewing the ALJ’s decision.         The

Federal Circuit Court of Appeals affirmed that decision in

September, 2021 after finding the ITC “did not err in its claim

construction or in its finding of infringement.” Jennewein

Biotechnologie GmbH v. Int’l Trade Comm’n, 2021 WL 4250784, at

*1 (Fed. Cir. Sept. 17, 2021).

    In June, 2022, Glycosyn voluntarily dismissed the 2018

District of Massachusetts suit and filed suit against Abbott in

the United States District Court for the Western District of

Texas for infringement of the ’018 patent. Glycosyn LLC, No. 18-

cv-10423-PBS, Docket No. 19; Glycosyn LLC v. Abbott

Laboratories, No. 22-cv-00619-ADA, Docket No. 1 (W.D. Tex. June

14, 2022).

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    Chr. Hansen filed the pending declaratory judgment action

in this Court against Glycosyn in July, 2022, seeking

declaratory judgment of non-infringement and invalidity of the

’018 patent.   One month later, Glycosyn dismissed the Western

District of Texas suit against Abbott and filed an answer and

counterclaim against Chr. Hansen and a cross-claim against

Abbott in the Massachusetts action. See Glycosyn LLC, No. 22-cv-

00619-ADA, Docket No. 4.

    In response, Abbott moved to sever and stay the claim

against it pending resolution of the cross claims between

Glycosyn and the manufacturer, Chr. Hansen.       In March, 2023,

this Court denied Abbott’s motion to sever and stay after

finding the customer suit exception and traditional stay factors

inapplicable. Docket No. 47.

    B. The ’018 Patent

    This matter revolves around the ’018 Patent, which bears

the name “Biosynthesis of Human Milk Oligosaccharides in

Engineered Bacteria.”    That patent was filed on September 21,

2017 and issued on May 15, 2018.      According to the patent, human

milk contains a diverse set of human milk oligosaccharides

(“HMOs”) that support the establishment of healthy gut

microbiome in infants.    Scientists have historically been unable

to develop HMOs inexpensively at scale.




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    The ’018 Patent purports to help solve that problem by

engineering E. coli bacterial strains to produce fucosylated

oligosaccharides (such as 2’-fucosyllactose, or “2’-FL”) which

can be used in products, such as infant formula or dietary

supplements.   According to Glycosyn’s claim construction brief,

bacteria are genetically modified

    (1) [to] increase the intracellular guanosine
    diphosphate (GDP)-fucose pool; (2) [to] increase the
    intracellular lactose pool; and (3) [to] add a
    fucosyltransferase that will bind a fucose to the
    lactose and thus form a fucosylated oligosaccharide
    such as 2ʹ-FL.

    β-galactosidase is one enzyme that can break a molecule

into two parts.     For example, β-galactosidase can break down

lactose into galactose and glucose.      β-galactosidase, which

breaks down a lactose, and fucosyltransferase, which uses

lactose to create fucosylated oligosaccharides, can conflict

with one another.

    To ensure the availability of lactose for the

fucosyltransferase reaction, which can result in the creation of

needed fucosylated oligosaccharides, the intracellular lactose

pool must be increased.    To do that, the engineered bacterium is

modified to delete or functionally inactivate the β-

galactosidase gene (referred to as “lacZ”) in such a way that

the downstream lactose permease (“lacY”) gene is left intact.




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    While some elimination of β-galactosidase is helpful when

producing fucosylated oligosaccharides, complete elimination can

result in purification issues later in the manufacturing

process.     Accordingly, the engineered bacterium includes an

exogenous functional β-galactosidase gene “to direct the

expression of a low, but detectable level of β-galactosidase

activity.”

    According to the patent, this results in low levels of β-

galactosidase activity between 0.05 and 200 Miller units.          At

that level, the β-galactosidase activity is not too low to

create purification issues nor too high to diminish the

intracellular lactose pool needed to produce fucosylated

oligosaccharides.    In essence, the process produces a

“Goldilocks” outcome.

    Claim 1 of the ’018 patent describes Glycosyn’s method for

producing a fucosylated oligosaccharide in an engineered E. coli

bacterium.    The key disputed terms are written below in bold:


    1. A method for producing a fucosylated
    oligosaccharide in a bacterium, comprising providing
    an isolated E. coli bacterium comprising,
    (i) a deletion or functional inactivation of an
    endogenous β-galactosidase gene;
    (ii) an exogenous functional β-galactosidase gene
    comprising a detectable level of β-galactosidase
    activity that is reduced compared to that of a
    wildtype E. coli bacterium, wherein the level of β-
    galactosidase activity comprises between 0.05 and 200
    units;


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      (iii) an inactivating mutation in a colanic acid
      synthesis gene; and
      (iv) an exogenous lactose-accepting fucosyltransferase
      gene; culturing said bacterium in the presence of
      lactose; and retrieving a fucosylated oligosaccharide
      from said bacterium or from a culture supernatant of
      said bacterium.

(Emphasis added.)

II.   Terms

      A. Overview of Claim Construction

      In analyzing a patent infringement action, a Court must 1)

determine the meaning and scope of the patent claims asserted to

be infringed and 2) compare the properly construed claims to the

infringing device. Markman v. Westview Instruments, Inc., 52

F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370

(1996).   The first step, known as claim construction, is an

issue of law for the court to decide. Id. at 979.         The second

step is determined by the finder of fact. Id.

      The Court’s responsibility in construing claims is to

determine the meaning of claim terms as they would be understood

by persons of ordinary skill in the relevant art. Bell Atl.

Network Servs., Inc. v. Covad Commc’ns Grp., Inc., 262 F.3d

1258, 1267 (Fed. Cir. 2001).      The meaning of the terms is

initially discerned from three sources of intrinsic evidence: 1)

the claims themselves, 2) the specification and 3) the

prosecution history of the patent.        See Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1582–83 (Fed. Cir. 1996).

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      The claims themselves define the scope of the patented

invention. See Philips v. AWH Corp., 415 F.3d 1303, 1312 (Fed

Cir. 2005).   Claim terms are generally given their “ordinary and

customary meaning”, which is the meaning that a person skilled

in the art would attribute to the claim term. See id. at 1312-

13.   Even if a particular term has an ordinary and customary

meaning, however, a court may need to examine the patent as a

whole to determine if that meaning controls. Id. at 1313 (“[A]

person of ordinary skill in the art is deemed to read the claim

term ... in the context of the entire patent....”); see also

Medrad, Inc. v. MRI Devices Corp., 401 F.3d 1313, 1319 (Fed.

Cir. 2005) (noting that a court cannot construe the ordinary

meaning of a term “in a vacuum”).         Ultimately, the correct

construction will be one that “stays true to the claim language

and most naturally aligns with the patent's description of the

invention....” Id. at 1316 (citation omitted).

      The patent specification is

      the single best guide to the meaning of a disputed
      term [and may reveal] a special definition given to a
      claim term that differs from the meaning it would
      otherwise possess [or contain] an intentional
      disclaimer, or disavowal, of claim scope by the
      inventor.

Phillips v. AWH Corp., 415 F.3d 1303, 1313-16 (Fed. Cir. 2005)

(en banc) (cleaned up).     The Court should also consult the

prosecution history to see how the inventor and PTO understood


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the patent and to ensure the patentee does not argue in favor of

an interpretation it has disclaimed. Id. at 1317.

    In the rare event that analysis of the intrinsic evidence

does not resolve an ambiguity in a disputed claim term, the

Court may consider extrinsic evidence, such as inventor and

expert testimony, treatises and technical writings. Id. at 1314;

Markman, 52 F.3d at 980 (“The court may, in its discretion,

receive extrinsic evidence in order to aid the court in coming

to a correct conclusion as to the true meaning of the language

employed in the patent.” (internal quotation marks and citation

omitted)).   Although extrinsic evidence may be helpful in

construing claims, the intrinsic evidence is afforded the

greatest weight in determining what a person of ordinary skill

in the art would have understood a claim to mean. Phillips, 415

F.3d at 1324.

    B. Level of the Person of Ordinary Skill in the Art

    The parties provide the same definition for the person of

ordinary skill in the art (“POSITA”) for the purposes the ’018

patent. It is:

    a person having a Ph.D. in molecular biology,
    biochemistry, biological or chemical engineering, or
    an equivalent field, and 1-2 years of experience
    working with E. coli bacteria or related systems.
    Alternatively, a person of ordinary skill could have a
    lower level degree (e.g., a M.A.) in a similar field
    to those listed above, but a greater amount of
    relevant working experience (e.g., 5-6 years of


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       experience working with E. coli bacteria or related
       systems).

       C. Undisputed Terms

       The parties agree on the construction of the following

terms of the ’018 patent:


Term                       Asserted Claims of       Proposed
                           the ’018 Patent          Construction
“wild-type”                Claims 1, 24             Plain and ordinary
                                                    meaning, i.e. “the
                                                    type most commonly
                                                    found in nature”
“colanic acid              Claims 1-3               “a gene involved in
synthesis gene”                                     a sequence of
                                                    reactions, usually
                                                    controlled and
                                                    catalyzed by enzymes
                                                    that result in the
                                                    synthesis of colanic
                                                    acid”
“E. coli lacZ gene”        Claim 8                  Plain and ordinary
                                                    meaning, i.e. “a
                                                    structural gene that
                                                    encodes the β-
                                                    galactosidase
                                                    protein and is part
                                                    of the lac operon in
                                                    the DNA of E. coli”


       D. Disputed Terms

       There are two disputed terms at issue, which are

hereinafter dealt with sequentially.

Disputed Term #1           Glycosyn’s               Chr. Hansen &
                           Construction             Abbott’s
                                                    Construction
“[an] exogenous            Plain and ordinary       “a single functional
functional β-              meaning, i.e.,           sequence of DNA,
galactosidase gene”        “contiguous or non-      originating outside
                           contiguous DNA,          the E.coli

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(‘018 patent claims      originating outside     bacterium, that
1, 8, 23, 24)            the E. coli             encodes a working β-
                         bacterium, that         galactosidase
                         encodes for a           enzyme”
                         working β-
                         galactosidase
                         enzyme”

    The parties agree that “exogenous” means “originating

outside the organism” and that a “functional β-galactosidase

gene” must encode a working β-galactosidase gene.        The parties

disagree about what a “gene” is for the purposes of the ‘018

patent.

          1.     Glycosyn

    Glycosyn urges the Court to adopt the plain and ordinary

meaning of “gene,” a term it contends can refer to contiguous or

non-contiguous DNA.     Glycosyn acknowledges that the ITC

construed the term “functional β-galactosidase gene” to mean “a

functional sequence of DNA that encodes β-galactosidase,” ITC

Construction Order, 2018 WL 6837945, at *22-23, but notes that

neither party included the word “sequence” in their own

preceding proposed claim construction.

    Glycosyn contends that the ITC’s use of “sequence” is

contrary to the basis of the field art because a gene is merely

a “basic unit of inheritance.”     The patent is designed to cover

a variety of β-galactosidase genes from “any number” of

organisms.     The patentee did not circumscribe the meaning of



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gene by including limiting qualifiers such as “contiguous” or

“sequence.”

    Glycosyn highlights extrinsic evidence that it contends

bolsters its construction.    Specifically, it identifies two

examples of non-contiguous DNA: “introns” and the LacZ gene.

Introns are internal sequences in protein-producing genes that

do not encode for the resulting functional protein.        The LacZ

gene can be separated into two sequences of DNA: LacZα and

LacZΩ.   According to Glycosyn, LacZα and LacZΩ comprise an

entire sequence of DNA that can still produce a working β-

galactosidase enzyme despite being non-contiguous DNA.         The

LacZα and LacZΩ genes encode for different β-galactosidase

peptides.   When both peptides are present, they spontaneously

assemble into a working β-galactosidase enzyme.        This is known

as “α-complementation.”

    Glycosyn finally contends that because Chr. Hansen and

Abbott do not offer the plain and ordinary meaning of the term

when read in the context of the intrinsic record, they must

satisfy one of two exceptions: lexicography and disavowal. See

Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed.

Cir. 2012).   Chr. Hansen and Abbott respond that those

exceptions are inapplicable because they seek to offer the plain

and ordinary meaning of the term.




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       At the Markman hearing, Glycosyn’s counsel allowed that the

ITC construction would be acceptable but that inclusion of the

term “contiguous” or “single” would impose unwarranted limiting

qualifiers.

           2.     Chr. Hansen and Abbott

       Chr. Hansen and Abbott propose that the construction should

be “a single functional sequence of DNA” because that comports

with the ITC’s construction.        They cite authority that explains

that “[w]hile not binding, the previous claim construction of

the [] patent should be consulted.” See Trustees of Bos. Univ.

v. Everlight Elecs. Co., 23 F. Supp. 3d 50, 62 (D. Mass. 2014).

They also cite dictionary definitions that define a gene as “a

distinct sequence”, “a sequence of DNA” and “the sequence of

nucleotides of DNA.” See Phillips, 415 F.3d at 1318 (“Within the

class of extrinsic evidence, . . . dictionaries and treatises

can be useful in claim construction.”).

       Chr. Hansen and Abbott reject the notion that a POSITA

would understand “gene” to imply a non-contiguous sequence of

DNA.    They note that the ITC previously considered such an

argument and determined that “a plain and ordinary meaning of

sequence does imply contiguity.” ITC Initial Determination, 2019

WL 5677974, at *28 (cleaned up).        They contend that Glycosyn’s

proffered construction serves as an end-around of the ITC’s

determination and that Glycosyn’s own expert, Dr. Kristala L.

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Jones Prather, repeatedly described a gene as “a sequence of

DNA” in declarations and witness statements both during the ITC

proceeding and before this Court.

     Finally, Chr. Hansen and Abbott reject Glycosyn’s reliance

on introns and LacZ as examples of genes that are made up of

non-contiguous DNA.   They cite dictionary definitions that

suggest that an intron is merely a component of a gene rather

than a gene itself and assert that Glycosyn brings up LacZα and

LacZΩ now only because the accused strain of Chr. Hansen used to

produce 2’-FL relies on α-complementation to produce β-

galactosidase enzyme.     Essentially, they accuse Glycosyn of

arguing an infringement issue at claim construction, which is

improper. See SRI Int'l v. Matsushita Elec. Corp. of Am., 775

F.2d 1107, 1118 (Fed. Cir. 1985).

        3.     Analysis

     The Court begins with careful consideration of the

construction adopted by the ITC and left untouched by the albeit

unreported Federal Circuit opinion.      While all parties agree

that this Court is not bound by the ITC construction, it may

afford it whatever persuasive value and deference it deems

appropriate. See Texas Instruments, Inc. v. Cypress

Semiconductor Corp., 90 F.3d 1558, 1569 (Fed. Cir. 1996).

     As noted supra, the ALJ in the ITC proceeding construed

“functional . . . β-galactosidase gene” as “a functional

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sequence of DNA that encodes β-galactosidase.” ITC Construction

Order, 2018 WL 6837945, at *22-23.

    At the Markman hearing before this Court, Glycosyn

initially quibbled with the ITC’s inclusion of the word

“sequence” but ultimately accepted the ITC construction which

aligns with that of Chr. Hansen and Abbott.       They construe the

term to mean a “singular functional sequence of DNA,” but

conceded at the Markman hearing that the word “singular” is

redundant because “sequence” is a singular noun.        Glycosyn, for

its part, emphasizes that none of the dictionary definitions

cited by Abbott and Chr. Hansen includes the word “single”.

Thus neither party provides a compelling reason to depart from

the ITC construction.

    In light of the ITC construction and perhaps reluctant

concessions of the parties at the Markman hearing, resolution of

the first disputed term is simplified.      The Court will construe

“functional . . . β-galactosidase gene” as “a functional

sequence of DNA, originating outside the E. coli bacterium, that

encodes a working β-galactosidase enzyme.”       The first clause

follows the ITC construction, while the second and third adopt

the constructions proffered by the parties.




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Disputed Term #2        Glycosyn’s               Chr. Hansen &
                        Construction             Abbott’s
                                                 Construction
“the level of β-        Not indefinite;          Indefinite;
galactosidase
activity comprises      “when a culture of       “β-galactosidase
between 0.05 and        the E. Coli bacteria     activity is
[200 units / 5 units    comprising the           measurable at
/ 4 units / 3 units     exogenous functional     between exactly 0.05
/ 2 units]”             β-galactosidase gene     and exactly
(’018 patent claims     is assayed using the     [200/5/4/3/2] Miller
1, 18, 25-28)           Miller protocol, β-      Units, as defined in
                        galactosidase            Miller, J.H.,
                        activity is              Experiments in
                        measurable at            Molecular Genetics
                        between exactly 0.05     (Cold Spring Harbor
                        and exactly              Lab. 1972) at 352-
                        [200/5/4/3/2] Miller     355, where the β-
                        Units, as defined in     galactosidase
                        Miller, J.H.,            activity is the β-
                        Experiments in           galactosidase
                        Molecular Genetics.      activity
                        Cold Spring Harbor       attributable to the
                        Laboratory (Cold         expression of the
                        Spring Harbor, N.Y.;     exogenous functional
                        1972) at 352-355”        β-galactosidase gene
                                                 only”


    With respect to the second disputed term, both parties

recognize that this Court will address indefiniteness at the

summary judgment stage. Docket No. 81-1.      Accordingly, the

parties did not brief that issue.

    They agree that “units” means “Miller Units, as set forth

in Miller, J.H., Experiments in Molecular Genetics (Cold Spring

Harbor Lab. 1972) at 352-355.”     That term is defined in the

patent specifications and the ITC and Federal Circuit both

adopted that construction during the earlier proceeding.


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           1.     Glycosyn

       Glycosyn contends that its construction aligns with the

plain and ordinary meaning of the claim term and emphasizes that

       if a company puts an exogenous functional β-
       galactosidase gene into a bacterial strain, and then
       performs the Miller protocol on the strain and gets
       results in the claimed range, the company practices
       this claim element.

       Glycosyn suggests that even if it is not obvious on the

face of the proffered constructions, the real dispute here is

whether one may modify the Miller protocol when determining the

claimed “units”.      It maintains that the ITC and Federal Circuit

have already held that such modification is not permitted.

Glycosyn further argues that nothing in the patent permits any

changes to the Miller protocol, a proposition that Chr. Hansen

purportedly agreed with during the Markman proceeding before the

ITC.

       Glycosyn accuses Chr. Hansen and Abbott of engaging in

mischief by purposefully modifying the Miller protocol to avoid

infringement.     Specifically, it claims Chr. Hansen had a third

party subtract negative control strains which is not permitted

under the Miller Test protocol.

       Glycosyn avers that the construction proffered by Chr.

Hansen and Abbott will permit them to tinker with the Miller

protocol under the pretense of discerning “activity attributable

to the expression of the exogenous functional β-galactosidase

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gene only.”     Glycosyn asserts that such construction will

confuse the jury and insert unnecessary and uncontemplated

verbiage into the ’018 patent.

    In its reply brief, Glycosyn emphasizes that the term

“comprise”, which appears in the claim at issue, is a term of

art designed to broaden a claim.     It argues that Abbott and Chr.

Hansen “turn the law on its head” by suggesting that comprising

restricts the patent to only β-galactosidase attributable to the

inserted β-galactosidase gene.     The patent is designed to claim

that the

    inserted β-galactosidase gene, paired with anything
    else, could produce the claimed β-galactosidase
    activity so long as the β-galactosidase gene is
    present.

(Emphasis added.)

           2.    Chr. Hansen and Abbott

    Chr. Hansen and Abbott contend that their proposed

construction is supported by the patent, its specification and

its file history.

    First, the patent claims

    (1) a method for producing a fucosylated
    oligosaccharide in a bacterium, comprising . . . (ii)
    an exogenous functional β-galactosidase gene
    comprising a detectable level of β-galactosidase
    activity . . . .

    That language purportedly demonstrates that only the

“exogenous functional β-galactosidase gene,” and nothing else,


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is the source of the level of β-galactosidase activity.         Chr.

Hansen and Abbott suggest such terminology should end the

inquiry because the plain text of the claim controls. See

Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1248

(Fed. Cir. 1998).

    Chr. Hansen and Abbott argue that the patent specification

also supports their construction because it explains that the

objective of the patent is

    achieved by utilizing a functional β-galactosidase
    (e.g., lacZ) gene insert carefully engineered to
    direct the expression of a low, but detectable level
    of β-galactosidase activity in an otherwise β-
    galactosidase negative host cell.

    They question what is meant by Glycosyn’s inclusion of the

phrase “a culture of the E. Coli bacteria comprising the

exogenous functional β-galactosidase gene”.       They suggest that

1) Glycosyn’s construction is redundant because the parties have

already agreed on the construction of “units”, 2) the reference

to “assay[ing] using the Miller protocol” could confuse the jury

and 3) a second reference to the Miller protocol “would

contribute nothing but meaningless verbiage.” Harris Corp. v.

IXYS Corp., 114 F.3d 1149, 1152 (Fed. Cir. 1997).

    Chr. Hansen and Abbott reject Glycosyn’s contention that

the “real dispute” is whether it is appropriate to modify the

Miller protocol.    While Glycosyn seeks recognition by the Court

that nothing in the patent permits changes to the Miller

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protocol, Chr. Hansen and Abbott insist that the Court cannot

decide at the claim construction stage what hypothetical changes

to the Miller test are proper because that question relates to

infringement.

        3.      Analysis

    In their supporting memoranda, the parties resemble ships

passing in the night.      Chr. Hansen and Abbott focus on whether

the measured β-galactosidase activity is attributable to the

expression of the exogenous functional β-galactosidase gene only

and suggest that Glycosyn doesn’t really disagree with their

proposed construction.      Glycosyn, meanwhile, offers an entirely

different understanding of the claim and focuses on whether it

is appropriate to modify the Miller protocol.

    The Court agrees with Glycosyn that Chr. Hansen and

Abbott’s use of “attributable to . . . only” would narrow the

scope of the patent claim, a limitation that appears to be

improper given the use of the term “comprising”. See Invitrogen

Corp. v. Biocrest Mfg., L.P., 327 F.3d 1364, 1368 (Fed. Cir.

2003) (explaining that comprising “indicates that the claim is

open-ended”).   As counsel for Glycosyn noted at the Markman

hearing, even if Chr. Hansen and Abbott are correct that the

claimed β-galactosidase activity is the β-galactosidase activity

attributable to the expression of the exogenous functional β-




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galactosidase gene only, performing the Miller test as written

should accomplish that.    Additional verbiage would be redundant.

    The Court also finds, however, that Glycosyn’s inclusion of

“assayed using the Miller protocol” is redundant given that the

parties already have agreed on wording with respect to the

Miller protocol.

    The Court acknowledges the Federal Circuit’s warning that

“courts should not resolve questions that do not go to claim

scope, but instead go to infringement,” Eon Corp. IP Holdings v.

Silver Spring Networks, Inc., 815 F.3d 1314, 1319 (Fed. Cir.

2016), and agrees with Chr. Hansen and Abbott that it would be

improper to opine on whether the Miller protocol may be modified

at this stage.   As Glycosyn concedes, that issue is not

addressed directly in the construction proffered by either

party.

    The Court returns again to the construction adopted by the

ITC, which both parties implicitly acknowledge as being correct.

No additional interpretation is necessary: the plain meaning of

the ITC construction will do.     Both parties seek to add

additional verbiage to strengthen their infringement arguments

rather than clarify the terms at issue.      The Court declines to

accept their invitation.

    Accordingly, the term “the level of β-galactosidase

activity comprises between 0.05 and [200 units / 5 units / 4

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units / 3 units / 2 units]” will be construed as “β-

galactosidase activity is measurable at between exactly 0.05 and

exactly [200/5/4/3/2] Miller Units, as defined in Miller, J.H.,

Experiments in Molecular Genetics (Cold Spring Harbor Lab. 1972)

at 352-355”.

                                 ORDER

    In accordance with the foregoing,

    1) the term “functional . . . β-galactosidase gene” means

“a functional sequence of DNA, originating outside the E. coli

bacterium, that encodes a working β-galactosidase enzyme”.

    2) the term “the level of β-galactosidase activity

comprises between 0.05 and [200 units / 5 units / 4 units / 3

units / 2 units]” means “β-galactosidase activity is measurable

at between exactly 0.05 and exactly [200/5/4/3/2] Miller Units,

as defined in Miller, J.H., Experiments in Molecular Genetics

(Cold Spring Harbor Lab. 1972) at 352-355”.




So ordered.

                                      /s/ Nathaniel M. Gorton
                                      Nathaniel M. Gorton
                                      United States District Judge


Dated February 15, 2024




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